Case 2:17-cv-13351-AJT-DRG
             Case: 18-2415 Document:
                           ECF No. 2936filedFiled:
                                              01/27/20
                                                   01/27/2020
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                                                               Page: 1Page 1 of 1

                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                   January 22, 2020


Clerk
United States Court of Appeals for the Sixth Circuit
540 Potter Stewart U.S. Courthouse                                     FILED
100 East Fifth Street                                            Jan 27, 2020
Cincinnati, OH 45202-3988                                    DEBORAH S. HUNT, Clerk


      Re: Ghazala Siddiqui, et vir., Individually and as Personal
          Representatives of the Estate of Raheel Siddiqui, Deceased
          v. United States
          No. 19-913
          (Your No. 18-2415)


Dear Clerk:

     The petition for a writ of certiorari in the above entitled case was filed on
January 17, 2020 and placed on the docket January 22, 2020 as No. 19-913.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Michael Duggan
                                        Case Analyst
